Case 1:21-cr-00025-RDM Document 45 Filed 12/13/21 Page 1 of 6

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Criminal Action No. 21-25 (RDM)
JORDEN ROBERT MINK,

Defendant.

 

 

ORDER

Pending before the Court is Defendant’s motion to revoke his pretrial detention. Dkt. 37.
The government opposes the motion. Dkt. 40. For the following reasons, the Court will DENY
the motion.

“In our society liberty is the norm, and detention prior to trial or without trial is the
carefully limited exception.” United States v. Munchel, 991 F.3d 1273, 1279 (D.C. Cir. 2021)
(quoting United States v. Salerno, 481 U.S. 739, 755 (1987)). The Bail Reform Act of 1984, 18
U.S.C. § 3141 et seq., sets forth the limited exceptions to this rule. Under the Bail Reform Act,
if a judicial officer finds that the defendant is charged with a covered offense and that “no
condition or combination of conditions will reasonably assure the appearance of the person as
required and the safety of any other person and the community, such judicial officer shall order
the detention of the [defendant] before trial.” 18 U.S.C. § 3142(e)(1). “In common parlance, the
relevant inquiry is whether the defendant is a ‘flight risk’ or a ‘danger to the community.’”
United States v. Vasquez-Benitez, 919 F.3d 546, 550 (D.C. Cir. 2019). Here, Defendant is
charged with multiple covered offenses, see 18 U.S.C. § 3142(f)(1)(A), (E); id. § 3156(a)(4)

(defining “crime of violence”); United States v. Klein, 533 F. Supp. 3d 1, 8-9 (D.D.C. 2021); see
Case 1:21-cr-00025-RDM Document 45 Filed 12/13/21 Page 2 of 6

also Dkt. 7 at 3-5, and Defendant does not pose a serious risk of flight. Accordingly, the sole
question before the Court is whether any conditions will reasonably ensure the safety of the
community.

To detain a defendant based on dangerousness, the judicial officer must consider four
statutory factors: (1) “the nature and circumstances of the offense charged;” (2) “the weight of
the evidence against the [defendant];” (3) “the history and characteristics of the [defendant];”
and (4) “the nature and seriousness of the danger to any person or the community that would be
posed by the [defendant’s] release.” 18 U.S.C. § 3142(g)(1){4). The government bears the
burden of showing by “clear and convincing evidence” that “no condition or combination of
conditions will reasonably assure the safety of any other person and the community.” Jd.

§ 3142(f).

Here, the magistrate judge before whom Defendant initially appeared ordered that he be
detained pending trial on the ground that “no condition or combination of conditions of release
will reasonably assure the safety” of the community. Dkt. 40-1 at 2. A defendant ordered
detained by a magistrate judge may file “a motion for revocation or amendment to the order”
with “a court having original jurisdiction over the offense.” 18 U.S.C. § 3145(b). The
magistrate’s detention order is subject to de novo review by the district court. United States v.
Taylor, 289 F. Supp. 3d 55, 63 (D.D.C. 2018); see also Munchel, 991 F.3d at 1279. Defendant’s
motion asks the Court to revoke the magistrate judge’s detention order and to impose conditions
that will reasonably assure the safety of the community. Dkt. 37 at 15. As explained below, the
Court concludes that the factors set forth in 18 U.S.C. § 3142(g) weigh in favor of Defendant’s

continued pretrial detention.
Case 1:21-cr-00025-RDM Document 45 Filed 12/13/21 Page 3 of 6

The first factor, the nature and circumstances of the offense, weighs in favor of detention.
Defendant is charged with committing ten crimes, including multiple violent felonies, while
participating in the violent attack on the U.S. Capitol that occurred on January 6, 2021. Dkt.7.
The government alleges that Defendant “violently and repeatedly” struck the windows of the
U.S. Capitol Building with a baseball bat until they shattered, Dkt. 40 at 3-4; that he “hurl[ed]
multiple objects” at a group of Capitol Police officers, id. at 5; and that he used a “long pole” to
“violently and repeatedly strike the officers at the entrance [to the Capitol Building], hitting their
shields at least five times,” id. In light of these allegations, Defendant is charged with, among
other things, “using a deadly or dangerous weapon” to “forcibly assault, impede, intimidate, and
interfere with[] an officer and employee of the United States,” Dkt. 7 at 4, and “forcibly
assault[ing], resist[ing], oppos[ing], intimidat[ing], and interfer[ing] with[] an officer and
employee of the United States ... where the acts .. . involve[d] physical contact with the victim
and the intent to commit another felony,” id. at 5. Those alleged offenses are violent crimes that
threaten the safety of the community. Simply put, “if any crime establishes danger to the
community and a disregard for the rule of law, assaulting a riot-gear-clad police officer does.”
United States v. Fairlamb, --- F. Supp. 3d ---, 2021 WL 1614821, at *5 (D.D.C. 2021); see also
Mnuchel, 991 F.3d at 1284 (‘[T]hose who actually assaulted police officers and broke through
windows, doors, and barricades . . . are in a different category of dangerousness than those who
cheered on the violence.”).

The second factor, the weight of the evidence, also weighs in favor of detention. The
government has obtained, and the Court has reviewed, video recordings reflecting some of
Defendant’s conduct at the U.S. Capitol on January 6, 2021. The videos are striking in their

display of Defendant’s violent and fervent participation in advancing the mob’s breach of the
Case 1:21-cr-00025-RDM Document 45 Filed 12/13/21 Page 4 of 6

Capitol Building, including his successful efforts to shatter two large windows with a baseball
bat, which enabled rioters to bypass law enforcement and to enter the building. In one video,
Defendant appears to be standing outside of an entrance to the Capitol, where a group of police
officers in riot gear is under assault by the mob. Defendant pushes his way to the front of the
crowd and hurls objects—which appear to include a traffic cone, a large rectangular-shaped
object, and a pole—at the officers from close range. Unsatisfied, Defendant descends back into
the crowd, finds more objects, and again violently throws them at the police officers, who are
under siege. Finally, Defendant reappears with what appears to be a flag pole, again pushes up
to the front line, and repeatedly—and savagely—strikes at the officers, who raise their shields to
meet his intense blows. This evidence is substantial and disturbing, and it strongly supports the
government’s view that Defendant would pose a threat to the community if released.

The third factor, the history and characteristics of the defendant, also supports continued
detention, albeit less clearly than the other factors. Defendant’s criminal record includes two
convictions for disorderly conduct, two convictions for driving under the influence, one
conviction for simple assault, and one conviction for trespass. Dkt. 37 at 12. To be sure,
Defendant has never been convicted of a felony—all six of his prior convictions were for
“misdemeanor and citation level offenses.” Jd. at 11. But the nature of Defendant’s record at
least suggests that Defendant has a penchant for disregarding the law. That conclusion is
buttressed by evidence that Defendant was “aware that [he] was wanted by the FBI” shortly after
January 6, but his cell phone “mysteriously disappeared” between January 6 and his arrest on
January 18, 2021. /d. at 17, 86.

The fourth and final factor, danger to individuals or the community, weighs in favor of

detention. “Consideration of this factor encompasses much of the analysis set forth above, but it
Case 1:21-cr-00025-RDM Document 45 Filed 12/13/21 Page 5 of 6

is broader in scope.” United States v. Taylor, 289 F. Supp. 3d 55, 70 (D.D.C. 2018). As
discussed, the violent nature of Defendant’s acts on January 6 and his criminal history
demonstrate that he would pose a danger to the community if released. In addition, the
government highlights that (1) Defendant posted a threatening statement on Instagram—“the
ballot is stronger than the bullet .... Well, my magazines will be fully loaded just in case it’s
not!”— alongside a photo of himself with an AR-15-style rifle just before Election Day, Dkt. 40
at 8; (2) Defendant was arrested with a loaded handgun and the FBI found two loaded magazines
in his car, id. at 17; and (3) the FBI “never recovered” the AR-15 style rifle pictured in
Defendant’s Instagram post, id. at 19. In response, Defendant argues that his Instagram post
does not establish any risk of danger because Defendant’s conduct on January 6 “[did] not
involve firearms.” Dkt. 43 at 5. To be sure, if Defendant had brought a gun to the attack on the
Capitol, it is possible that events would have taken an even more tragic tum than they did. But
Defendant’s post suggesting that he was prepared to use an assault-style rifle if unsuccessful at
the ballot box remains chilling given Defendant’s sustained, violent assault on the police officers
who were protecting the Capitol on January 6, 2021.

Given Defendant’s history and repeated violent assaults on law enforcement officers who
were merely attempting to protect the U.S. Capitol and its occupants from attack, the Court
further concludes that no conditions of pretrial release will reasonably ensure the safety of the
community, including the pretrial services officers who would be required to enforce any such
conditions.

In considering the four factors together, therefore, Court concludes that no condition or

combination of conditions of release could reasonably assure the safety of the community.
Case 1:21-cr-00025-RDM Document 45 Filed 12/13/21 Page 6 of 6

CONCLUSION
For the foregoing reasons, it is hereby ORDERED that Defendant’s motion to revoke his

pretrial detention, Dkt. 37, is DENIED.

pone (6. Wd. Hoa

RANDOLPH D. MOSS
United States District Judge

 

Date: December 13, 2021
